        CASE 0:17-cv-03058-SRN-HB Document 195 Filed 09/03/20 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

  Brock Fredin,

                             Plaintiff,          Court File No. 17-cv-03058 (SRN/HB)

  v.

  Lindsey Middlecamp,

                             Defendant.


                       DECLARATION OF LINDSEY MIDDLECAMP

         I, Lindsey Middlecamp, declare as follows:

         1.        I submit this Declaration in support of my motion for summary judgment.

         2.        On February 22, 2017, I saw a public Facebook post by someone I was not

acquainted with that accused Fredin of rape. I contacted the individual via Facebook and

offered to connect her with a rape survivor support community which I was affiliated with.

The individual confirmed she was interested in being put in touch with that community.

During our conversation, the individual also expressed a desire to have her story shared

with others. I elected to redact the individual’s name from the screenshot I shared to my

Twitter account because I did not want the individual to receive unwanted attention from

strangers on the internet. I shared the post believing the veracity of the allegation and

believing it was important to share as a matter of public concern.




4837-8603-6426.1
        CASE 0:17-cv-03058-SRN-HB Document 195 Filed 09/03/20 Page 2 of 2




          I declare under the penalty of perjury that the foregoing is true and correct.

Executed this 3rd day of September, 2020 at Duluth, Minnesota.



                                                       /s/ Lindsey Middlecamp
                                                       Lindsey Middlecamp




                                            2
4837-8603-6426.1
